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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )       MISC. ACTION NO.
     v.                              )        2:17mc3791-MHT
                                     )             (WO)
THE ANDERSONS PLANT                  )
NUTRIENT OPERATIONS, LLC,            )
Maumee, OH,                          )
                                     )
     Garnishee,                      )
                                     )
JESSE JOHNSON,                       )
                                     )
     Defendant.                      )

                                 ORDER

    The garnishee Anderson, Inc., filed a notice (doc.

no. 5) informing the court that it would undergo a name

change as of January 5, 2018, to The Andersons Plant

Nutrient Operations LLC.

    Accordingly,      it    is   ORDERED    that    all    pleadings,

including the writ of garnishment (doc. no. 2), are

amended to reflect the garnishee’s new name.
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    The clerk of the court is DIRECTED to change the

docket to reflect this name change.

    DONE, this the 18th day of March, 2019.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
